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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS                      .!;ir i fi Zli,lg
                                EASTERN DIVISION
                                                                      "?:.:3lfiH,I.fl3;",.u
 UNITED STATES OF AMERICA
                                                      No. 19 CR 664
       V.
                                                      Judge Charles Norgle, Sr.
 TUQIANG XIE,
      also known as "Tony Xie"

                                  PLEA AGREEMENT

      1.       This PIea Agreement between the U.S. Attorney for the Northern

District of Illinois, JOHN R. LAUSCH, JR., and defendant TUQIANG XIE,                      also

known as "Tony Xie," and his attorney, THOMAS A. DURKIN, is made pursuant to

RuIe 11 of the Federal Rules of Criminal Procedure. The parties to this Agreement

have agreed upon the following:

                                  Charses in This Case

      2.       The Information in this case charges defendant with engaging in the

business    of brokering activities without registration, in violation of 22 U.S.C.

$ 2778(c)   (Count One), and filing a false tax return, in violation of 26 U.S.C.   S   7206(1)

(Count Two).

      3.       Defendant has read       the charges against him contained in               .the

Information, and those charges have been fully explained to him by his attorney.

      4.       Defendant fully understands the nature and elements of the crimes with

which he has been charged.
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                   Charses to Which Defendant Is Pleading Guiltl,

      5.      By this Plea Agreement, defendant agrees to enter a voluntary plea of

guilty to the following counts of the Information: Count One, which                   charges

Defendant with engaging in the business of brokering activities without registration,

in violation of 22 U.S.C.   $ 277S(c);   and Count Two, which charges defendant with

filing a false tax return for tax year 2O!3, in violation of 26 U.S.C. S 7206(1). In

addition, as further provided below, defendant agrees to the entry of a forfeiture

judgment.

                                     Factual Basis

      6.      Defendant   will plead guilty   because he is   in fact guilty of the   charges

contained   in Counts One and Two of the Information. In pleading guilty, defendant

admits the following facts and that those facts establish his guilt beyond a reasonable

doubt and constitute relevant conduct pursuant to U.S.S.G.       SS   1B1.3, and establish a

basis for forfeiture of the property described elsewhere in this Plea Agreement:

              a.      With respect to Count One of the Information:

      Beginning no later than August 4, 2014, and continuing until at least February

20, 2015, in the Central District of California, and elsewhere, defendant TUQIANG

XIE, also known as "Tony Xie," did knowingly and willfully engage in the business of

brokering activities involving the People's Republic of China           in negotiating   and

arranging purchases, sales, transfers, export, and import of a defense article, namely

an eyepiece assembly, National Stock Number 1240-01-063-L352, without first
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registering with, and obtaining a license or written approval from, the United States

Department of State, Directorate of Defense Trade Controls or the United States

Bureau of Alcohol, Tobacco, Firearms, and Explosives, in violation of Title 22,United

States Code, Section 2778(c), Title 22, Code of Federal Regulations, Sections 121.1,

122.1, 727.1(a)(1), 129.1(a), 129.2, 129.3(a), 129.5(c), and Title 27, Code of Federal

Regulations, Sections 447.21, 447.31, 447.4L, and 447.61.

      More specifically, defendant owned and operated Biomedical-Optics, LLC in

Irvine, California. Among other things, Biomedical-Optics, by and through defendant,

engaged   in the business of brokering activities, that is, negotiating or arranging
contracts, purchases, sales, or transfers of defense articles or defense services for a

fee, commission or other consideration. Defendant, by and through Biomedical-

Optics, imported defense articles, including optical and other components, from

manufacturers in the People's Republic of China ("PRC") on behalf of clients in the

United States.

      In approximately November 2006, defendant was contacted by Bharat "Victor"

Verma, who expressed an interest in defendant acquiring optical components from

his sources in the PRC on behalf of Vibgyor Optical Systems, Inc. ("Vib$yor"), Victor

Verma's Illinois-based company. One of Verma's family members, Individual A,

owned and operated Defense Contractor A, a company that utilized Vibgyor as           a


subcontractor for Department of Defense contracts.
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      On November 29,2006, defendant sent an email to Verma that, among other

things, outlined the types of optical components defendant could acquire. The email

also provided information on Biomedical-Optics, including that    its manufacturing
facility was located in the Hubei Province, in the PRC.

      Shortly thereafter, Vibgyor began to order items, largely military optical

technology, from Biomedical-Optics, which defendant then acquired from              a

manufacturer in the PRC. Defendant imported the items, including defense articles

on the U.S. Munitions Import List, and forwarded them to addresses specified by

Vibgyor representatives. Defendant also brokered the purchase of items, including

defense articles on the U.S. Munitions Import List, from a manufacturer in the PRC

on behalf of Defense Contractor A. Defendant later procured items, including defense

articles on the U.S. Munitions Import List, from a manufacturer in the PRC on behalf

of Broker B and Broker B's company. Broker B and Broker B's company ordered items

from defendant in order to supply them to Vibgyor.

      In order to facilitate the manufacture of the items ordered by Vibgyor, Defense

Contractor A, and Broker B, defendant sent technical data and examples of the items

to the manufacturer in the PRC. These items included defense articles on the
U.S. Munitions   List. Defendant received the examples and technical data from
Vibgyor, Defense Contractor A, and Broker B, who provided the examples and

technical data to defendant for the purpose of permitting the manufacture of the

requested items. Those examples and technical data included defense articles on the
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U.S. Munitions List. At times, the manufacturer in the PRC had questions about the

items being produced, and defendant       in turn asked   representatives of Vibgyor,

including Verma and others, for information to provide to the Chinese manufacturer.

        At no point did defendant register as a broker with, or seek or receive     the

required license or written approval from, the Directorate of Defense Trade Controls

to engage in brokering activities, or to export the technical data provided to him by

Vibgyor, Defense Contractor A, or Broker B. Nor did defendant seek or receive the

required permit from the Bureau of Alcohol, Tobacco, Firearms and Explosives to

import the defense articles he procured on their behalf. Defendant knew that such

requirements existed, having been so informed in 2008 and 2011 by representatives

of Homeland Security Investigations. The Directorate of Defense Trade Controls

never authorized the export of defense articles (i.e.,lhe technical data or items) sent

by defendant to the manufacturer in the PRC. Nor did the Bureau of Alcohol, Tobacco,

Firearms and Explosives issue a permit for the import of the defense articles.

       At the request of Vibgyor and Defense Contractor A, defendant knowingly and

intentionally attempted to circumvent U.S. customs enforcement by misidentifying

items he imported from manufacturers in the PRC, misstating the cost of imported

items, and receiving and forwarding items to Vibgyor and Defense Contractor A in

Illinois.

        One of the defense articles   that defendant procured for Broker B was an
eyepiece assembly, National Stock Number 1240-01-063-7352, which was a
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component of a thermal sighting system for the M60A3 battle tank. In approximately

Jwly 2014, defendant received from Broker B a request for quotation to supply         a

quantity of the eyepiece assemblies. On or about August 4,2014, defendant agreed to

procure on behalf of Broker B 25 of the eyepiece assemblies from a manufacturer in

the PRC. Between August 2074 and mid-February 2075, defendant brokered the

import of the eyepiece assemblies, which defendant then caused to be delivered to

Broker B. Defendant knew that the eyepiece assembly was a defense article on the

U.S. Munitions Import List and that he was not licensed by the U.S. Department of

State, Directorate of Defense Trade Controls, to engage in brokering activities related

to the eyepiece assembly, to include the import of the eyepiece assembly on behalf of

Broker B, nor did the Bureau of Alcohol, Tobacco, Firearms and Explosives issue the

required permit for the import of the eyepiece assembly.

      Defendant received payment from Vibgyor Optical Systems, Defense

Contractor A, and Broker B for the defense articles defendant imported and caused

to be imported from the PRC, without the required permit, on their behalf. Between

approximately 2007 and 2014, defendant and Biomedical-Optics received payments

totaling nearly $800,000 from Vibgyor, Defense Contractor A, and Broker B for the

items defendant caused to be manufactured and imported from the PRC. Biomedical-

Optics, by and through defendant, made payments to the Chinese manufacturer

totaling nearly $600,000. In total, Biomedical-Optics and defendant made a profit of
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approximately $200,027 by unlawfully importing items from the PRC on behalf of

Vibgyor, Defense Contractor A, and Broker B.

               b.      With respect to Count Two of the Information:

         On or about April 3,20L4, in the Central District of California and elsewhere,

defendant did willfully aid, abet, assist, and cause to be made and subscribed an

Internal Revenue Service ("IRS") Form 1120S, U.S. Income Tax Return for an

S Corporation,      for Biomedical-Optics, LLC, for calendar year 2013, which           was

verified by a written declaration that it was made under the penalties of perjury and

which defendant did not believe to be true and correct as to every material matter.

That corporate tax return, which was filed with the Director, Internal Revenue

Service Center, falsely reported on line 1a the "[g]ross receipts or sales" of Biomedical-

Optics   in the amount of $568,463, whereas, he then and there knew           Biomedical-

Optics had actually received $785,085     in gross receipts and   sales   in calendar year

2013. Due to this and other false entries on the corporate tax return, defendant

caused a tax loss of $3,640, which is the total tax loss for this count of conviction

         In the course of operating and managing his business, defendant maintained

two sets of books, in which he recorded the gross receipts and cost of goods sold for

Biomedical-Optics. In one set of books, defendant maintained accurate figures. In the

second set of books, defendant maintained lower figures by omitting entire sales

transactions from the original books, thus reducing both the total gross-receipts

figures and the total cost-of-goods-sold figures. By omitting those transactions, the
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second set of books appeared      to show that the business had lower profits than it

actually had and, as the sole owner of Biomedical-Optics, defendant would thus be

required to pay less in tax. Defendant later provided the second, false set of books to

his return preparer, who used the false set of books to complete the 2013 Form 11205

for Biomedical-Optics. Defendant then signed the 2013 Form 1120S by hand on
March 77, 20L4, and authorized his return preparer to file the return with the IRS

on behalf of Biomedical-Optics.

      Defendant similarly under-reported the gross sales and profits of Biomedical

Optics, LLC in calendar years 2009    -   2012, resulting in additional intended tax loss

of more than $100,000 but not more than $250,000.

                          Maximum Statutory Penalties

      7.     Defendant understands that the charges to which he is pleading guilty

carry the following statutory penalties:

             a.     Count One carries a maximum sentence of twenty years of

imprisonment. Count One also carries a maximum fine of $1,000,000, or twice the

gross gain or gross loss resulting from that offense, whichever is greater. Defendant

further understands that with respect to Count One, the judge also may impose          a

term of supervised release of not more than three years.

             b.     Count Two carries a maximum sentence of three years of

imprisonment. Count Two also carnes a maxlmum fine of $250,000. Defendant

further understands that the Court must order costs of prosecution, estimated not to
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exceed $500. Defendant    further understands that with respect to Count Two, the
judge also may impose a term of supervised release of not more than one year.

             c.     Defendant further understands that the Court must order

restitution to the victims of the offense in an amount determined by the Court.

             d.     In accord with 18 U.S.C.   S   3013, defendant   will be assessed $100

on each count to which he has pled guilty, in addition to any other penalty or

restitution imposed.

             e.     Therefore, under the counts to which defendant is pleading guilty,

the total maximum sentence is twenty-three years of imprisonment. In addition,

defendant is subject to a total maximum fine of $1,250,000, or twice the gross gain or

gross loss resulting from the offenses of conviction, whichever is greater, mandatory

costs of prosecution, a period of supervised release, and special assessments totaling

$200, in addition to any restitution ordered by the Court.

                       Sentencing Guidelines Calculations

      8.     Defendant understands that       in determining a sentence, the Court      is

obligated to calculate the applicable Sentencing Guidelines range, and to consider

that range, possible departures under the Sentencing Guidelines, and other
sentencing factors under 18 U.S.C.     S   3553(a), which include:    (i) the nature and

circumstances of the offense and the history and characteristics of defendant; (ii) the

need for the sentence imposed to reflect the seriousness of the offense, promote

respect for the law, and provide just punishment for the offense, afford adequate
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deterrence to criminal conduct, protect the public from further crimes of defendant,

and provide defendant      with needed educational or vocational training, medical    care,

or other correctional treatment in the most effective manner; (iii) the kinds of

sentences available; (iv) the need to avoid unwarranted sentence disparities among

defend.ants   with similar records who have been found guilty of similar conduct; and

(v) the need to provide restitution to any victim of the offense.

       9.      For purposes of calculating the Sentencing Guidelines, the parties agree

on the following points:

               a.       Applicable Guidelines. The Sentencing Guidelines to             be

considered    in this   case are those   in effect at the time of sentencing. The following

statements regarding the calculation of the Sentencing Guidelines are based on the

Guidelines Manual currently         in effect, namely the November 2078 Guidelines
Manual.

               b.       Offense Level Calculations.

                     i.       The base offense level for Count One is 26, pursuant to

USSG   S   2M5.2(a)(1).

                    ii.       The base offense level for Count Two is 16, pursuant to

USSG $$ 2T1.1(a)(1) and 2T4.1(F).

                    iii.      Because the offense level for Count Two is nine or more

levels less serious than the offense level for Count One, the applicable offense level

for the Group is not increased, pursuant to USSG $ 3D1.a(c).

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                   iv.     Defendant and the United States agree that the offense in

Count Two involved an actual loss to the victim of $3,640. Defendant and the United

States agree that the total tax loss, which includes relevant conduct beyond the count

of conviction pursuant to USSG SS 181.3 and 2T1.1, is greater than $100,000, but not

greater than $250,000.

                   v.      Defendant has clearly demonstrated a recognition and

affirmative acceptance of personal responsibility for his criminal conduct.      If the
government does not receive additional evidence in conflict with this provision, and

if defendant continues to accept responsibility for his actions within the meaning of

USSG    S   3E1.1(a), including by furnishing the U.S. Attorney's Office and the

Probation Office with aII requested financial information relevant to his ability to

satisfu any fine or restitution that may be imposed in this case, a two-level reduction

in the offense level is appropriate.

                  vi.      In   accord   with USSG S 3E1.1ft), defendant has timely
notified the government of his intention to enter a plea of guilty, thereby permitting

the government to avoid preparing for trial and permitting the Court to allocate its

resources efficiently. Therefore, as provided     by USSG S 3E1.1(b), if the Court
determines the offense level to be 16 or greater prior to determining that defendant

is entitled to a two-level reduction for acceptance of responsibility, the government

will move for an additional one-level reduction in the offense level.


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              c.    Criminal History Category. With regard to determining
defendant's criminal history points and criminal history category, based on the facts

now known to the government, defendant's criminal history points equal zero and

defendant's criminal history category is I.

              d.    Anticipated Advisory Sentencing Guidelines                Range.

Therefore, based on the facts now known to the government, the anticipated offense

level is 23, which, when combined with the anticipated criminal history category of I,

results in an anticipated advisory sentencing guid.elines range of 46 to 57 months of

imprisonment, in addition to any supervised release, fine, and restitution the Court

may impose.

              e.    Defendant and his attorney and the government acknowledge

that the above guidelines calculations are preliminary in nature, and are non-binding

predictions upon which neither party is entitled to rely. Defendant understands that

further review of the facts or applicable legal principles may lead the government to

conclude   that different or additional guidelines provisions apply in this      case.

Defendant understands that the Probation Office will conduct its own investigation

and that the Court ultimately determines the facts and law relevant to sentencing,

and that the Court's determinations govern the final guideline calculation.
Accordingly, the validity of this Agreement is not contingent upon the probation

officer's or the Court's concurrence with the above calculations, and defendant shall



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not have a right to withdraw his plea on the basis of the Court's rejection of these

calculations.

                f.    Both parties expressly acknowledge that this Agreement is not

governed by Fed. R. Crim. P. 11(c)(1)(B), and that errors in applying or interpreting

any of the sentencing guidelines may be corrected by either party prior to sentencing.

The parties may correct these errors either by stipulation or by a statement to the

Probation Office or the Court, setting forth the disagreement regarding the applicable

provisions of the guidelines. The validity of this Agreement       will not be affected   by

such corrections, and defendant shall not have a right to withdraw his plea, nor the

government the right to vacate this Agreement, on the basis of such corrections.

                        Agreements Relating to Sentencing

       10. It is understood     by the parties that the sentencing judge is neither a

party to nor bound by this Agreement and may impose a sentence up to the maximum

penalties as set forth above. Defendant further acknowled.ges that if the Court      d.oes


not accept the sentencing recommendation of the parties, defendant will have no right

to withdraw his guilty plea.

       11.      Pursuant to 18 U.S.C.   SS   3663(a)(3) and 3664, defendant agrees to pay

restitution to the U.S. Treasury arising from the offense and relevant conduct set

forth above. There is no current actual tax loss and no restitution owed.

       12.      Restitution shall be due immediately, and paid pursuant to a schedule

to be set by the Court at sentencing. Defendant acknowledges that pursuant to
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18 U.S.C. S 3664(k), he is required to notify the Court and the U.S. Attorney's Office

of any material change in economic circumstances that might affect his ability to pay

restitution.

       13.      Defendant agrees to pay the special assessment of $200 at the time of

sentencing     with a cashier's check or money order payable to the Clerk of the U.S.

District Court.

       14.      Defendant agrees that the United States may enforce collection of any

fine or restitution imposed in this case pursuant to 18 U.S.C.       SS   3572, 3613, and

3664(m), notwithstanding any payment schedule set by the Court.

       15.      Defendant agrees that he is liable for the fraud penalty imposed by 26

U.S.C.   S   6663 on the understatements of liability for calendar years 2011, 2012,

and 2013.

                                      Forfeiture

       16.      Defendant understands that by pleading guilty, he          will   subject to

forfeiture to the United States aII right, title, and interest that he has in any property

constituting or derived from proceeds obtained, directly or indirectly, as a result of

the offense.

       17.      Defendant agrees to the entry of a personal money judgment           in   the

amount of $200,027, which represents the total amount of proceeds traceable to the

offense. Defendant consents      to the immediate entry of a preliminary order of


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forfeiture setting forth the amount of the personal money judgment he will be ordered

to pay.

          18.    Defendant admits that because the directly forfeitable property is no

longer available for forfeiture as described in 2L U.S.C.     S   853(p)(1), the United States

is entitled to seek forfeiture of any other property of defendant, up to the value of the

personal money judgment, as substitute assets pursuant to 21U.S.C.             S   853(pX2).

          19.    Defendant understands        that forfeiture shall not be treated             as

satisfaction of any fine, restitution, cost of imprisonment, or any other penalty the

Court may impose upon defendant in addition to the forfeiture jud.gment. In this case,

however, the U.S. Attorney's Offrce will recommend to the Attorney General that any

net proceeds derived from any forfeited assets be remitted or restored to eligible

victims of the offense pursuant to 18 U.S.C. S 981(e), 28 C.F.R. pt. 9, and other

applicable law.

      20.        Defendant agrees to waive all constitutional, statutory, and equitable

challenges      in any manner, including but not limited to direct appeal or a motion
brought under 28 U.S.C.      S 2255,   to any forfeiture carried out in accordance with this

agreement on any grounds, including that the forfeiture constitutes an excessive fine

or punishment. The waiver in this paragraph does not apply to a claim of
involuntariness or ineffective assistance of counsel.




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          Acknowledgments and Waivers Regarding Plea of Guilty

                               Nature of Agreement

       27. This Agreement is entirely voluntary and represents the entire
agreement between the U.S. Attorney and defendant regarding defendant's criminal

liability in United States u. Tuqiang Xie,   case number 19 CR 664.

      22.    This Agreement concerns criminal liability only. Except as expressly set

forth in this Agreement, nothing herein shall constitute a limitation, waiver, or

release by the United States or any of its agencies of any administrative or judicial

civil claim, demand, or cause of action it may have against defendant or any other

person or entity. The obligations of this Agreement are limited to the U.S. Attorney's

Office for the Northern District of Illinois, the U.S. Attorney's Office for the Central

District of California, and the U.S. Department of Justice, Tax Division, Criminal

Enforcement Section, and cannot bind any other federal, state, or local prosecuting,

administrative, or regulatory authorities, except as expressly set forth        in   this

Agreement.

      23.    Defendant understands that nothing in this Agreement shall limit the

IRS in its collection of any taxes, interest or penalties from defendant and his spouse.

Defendant understands that the amount of tax as calculated by the IRS may exceed

the amount of tax due as calculated for the criminal case.




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                                         Waiver of Rights

      24.    Defendant understands that by pleading guilty he surrenders certain

rights, including the following:

             a.       Right to be charged by indictment. Defendant understands

that he has a right to have the charges prosecuted by an indictment returned by a

concurrence of twelve or more members of a grand                  jury consisting of not less than

sixteen and not more than twenty-three members. By signing this Agreement,

defendant knowingly waives his right to be prosecuted by indictment and to assert at

trial or on appeal any defects or errors arising from the Information, the information

process, or the fact that he has been prosecuted by way of information.

             b.       Trial rights. Defendant has the right to persist in a plea of not
guilty to the charges against him, and if he does, he would have the right to a public

and speedy trial.

                    i.          The   trial could be either a jury trial or a trial by the judge

sitting without a jury. However, in order that the trial be conducted by the judge

sitting without a jury, defendant, the government, and the judge aII must agree that

the trial be conducted by the judge without           a   jury.

                    ii.         If the trial is a jury trial,     the jury would be composed of

twelve citizens from the district, selected at random. Defendant and his attorney

would participate        in   choosing   the jury by requesting that the Court            remove



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prospective jurors for cause where actual bias or other disqualification is shown, or

by removing prospective jurors without cause by exercising peremptory challenges.

                  ll1.      If the trial is a jury trial, the jury would be instructed that

defendant is presumed innocent, that the government has the burden of proving

defendant guilty beyond a reasonable doubt, and that the jury could not convict him

unless, afber hearing    all the   evidence,   it was persuaded of his guilt beyond a
reasonable doubt and that it was to consider each count of the Information separately.

The   jury would have to agree unanimously as to each count before it could return       a

verdict of guilty or not guilty as to that count.

                  rv.       If the trial is held by the judge without a jury, the judge
would find the facts and determine, after hearing all the evidence, and considering

each count separately, whether or not the judge was persuaded that the government

had established defendant's guilt beyond a reasonable doubt.

                   v.       At a trial, whether by a jury or a judge, the government
would be required to present its witnesses and other evidence against defendant.

Defendant would be able to confront those government witnesses and his attorney

would be able to cross-examine them.

                  VI.       At a trial, defendant could present witnesses and other
evidence   in his own behalf. If the witnesses for defendant would not appear
voluntarily, he could require their attendance through the subpoena power of the

Court. A defendant is not required to present any evidence.

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                   vii.     At a trial, defendant would have a privilege against     self-

incrimination so that he could decline to testifir, and no inference of guilt could be

drawn from his refusal to testifu. If defendant desired to do so, he could testify in his

own behalf.

              c.     Waiver of appellate and collateral rights. Defendant further

understands he is waiving aII appellate issues that might have been available       if   he

had exercised his right to trial. Defendant is aware that Title 28, United States Code,

Section 7291, and Title 18, United States Code, Section 3742, afford a defendant the

right to appeal his conviction and the sentence imposed. Acknowledging this,
defendant knowingly waives the right to appeal his conviction, any pre-trial rulings

by the Court, and any part of the sentence (or the manner in which that sentence was

determined), including any term of imprisonment and fine within the maximums

provided by law, and including any order of forfeiture, in exchange for the concessions

made by the United States in this Agreement. In addition, defendant also waives his

right to challenge his conviction and sentence, and the manner in which the sentence

was determined, in any collateral attack or future challenge, including but not limited

to a motion brought under Title 28, United States Code, Section 2255. The waiver in

this paragraph does not apply to a claim of involuntariness or ineffective assistance

of counsel, nor does   it prohibit defendant from seeking a reduction   of sentence based

directly on a change in the law that is applicable to defendant and that, prior to the



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filing of defendant's request for relief, has been expressly made retroactive by an Act

of Congress, the Supreme Court, or the United States Sentencing Commission.

              d.       Defendant understands that by pleading guilty he is waiving all

the rights set forth in the prior paragraphs. Defendant's attorney has explained those

rights to him, and the consequences of his waiver of those rights.

       25.    Defendant understands that he has the right to have the criminal

charges   in the Information brought within five years of the last of the alleged   acts

constituting the specified violations. By signing this document, defendant knowingly

waives any right to have the charges in the Information brought against him within

the period established by the statute of limitations. Defendant also knowingly waives

any d.efense or claim based upon the statute of limitations or upon the timeliness with

which the charges in the Information were brought.

       26.    Defendant understands that he has the right to be prosecuted for any

criminal offense in the district or districts where the offense was committed. By

signing this Agreement, defendant knowingly consents to prosecution of the charges

against him in the Northern District of Illinois and waives any objection to the venue

of this prosecution.

          Presentence Investigation Report/Post-Sentence Supervision

       27.    Defendant understands that the U.S. Attorney's Office in its submission

to the Probation Office as part of the Pre-Sentence Report and at sentencing shall

fully apprise the District Court and the Probation Office of the nature,    scope, and
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extent of defendant's conduct regarding the charges against him, and related matters.

The government will make known all matters in aggravation and mitigation relevant

to sentencing.

        28.     Defendant agrees to truthfully and completely execute     a Financial
Statement (with supporting documentation) prior to sentencing, to be provided to and

shared among the Court, the Probation Office, and the U.S. Attorney's Office

regarding all details of his financial circumstances, including his recent income tax

returns as specified by the probation officer. Defendant understands that providing

false or incomplete information, or refusing to provide this information, may be used

as a basis for denial of a reduction for acceptance of responsibility pursuant to USSG

S   3E1.1 and enhancement of his sentence for obstruction of justice under USSG

S   3C1.1, and may be prosecuted as a violation of 18 U.S.C. S 1001, or as a contempt

of the Court.

        29. For the purpose of        monitoring defendant's compliance with his

obligations to pay a fine and restitution during any term of supervised release or

probation to which defendant      is sentenced, defendant further    consents   to   the

disclosure by the IRS    to the Probation Office and the U.S. Attorney's Office of
defendant's individual income tax returns (together with extensions, correspondence,

and other tax information) filed subsequent to defendant's sentencing, to and

including the final year of any period of supervised release or probation to which

defendant is sentenced. Defendant also agrees that a certified copy of this Agreement

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shall be suffi.cient evidence of defendant's request to the IRS to disclose the returns

and return information, as provided for in 26 U.S.C.    S   6103(b).

                                    Other Terms

       30.    Defendant agrees    to   cooperate   with the U.S. Attorney's Office in
collecting any unpaid fine and restitution for which defendant is liable, including

providing financial statements and supporting records as requested by the U.S.

Attorney's Office.

       31.    Regarding matters relating to the IRS, defendant agrees as follows

(nothing   in this paragraph,   however, precludes defendant and       his   spouse from

asserting any legal or factual defense to taxes, interest, and penalties that may be

assessed by the IRS):

              a.     Defendant agrees     to cooperate with the IRS in any tax
examination or audit of defendant and his spouse which directly or indirectly relates

to or arises out of the course of conduct that defendant has acknowledged in this

Agreement, by transmitting to the IRS original records or copies thereof, and any

additional books and records that the IRS may request.

       32.    Defendant   will not object to a motion brought by the U.S. Attorney's
Office for the entry of an order authorizing disclosure of documents, testimony and

related investigative materials, which may constitute grand j.r*y material,
preliminary   to or in    connection    with any judicial      proceeding, pursuant to

Fed. R. Crim. P. 6(eX3XE)(i).   In addition,    defendant      will not object to    the

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government's solicitation of consent from third parties who provided records or other

materials to the grand jury pursuant to grand jury subpoenas, to turn those materials

over to the Civil Division of the U.S. Attorney's Office, or an appropriate federal or

state agency (including but not limited to the IRS), for use in civil or administrative

proceedings or investigations, rather than returning them to the         third parties for

later summons or subpoena in connection with a civil or administrative proceeding

involving, or investigation of, defendant and his spouse. Nothing in this paragraph or

the preceding paragraph precludes defendant and his spouse from asserting any legal

or factual defense to taxes, interest, and penalties that may be assessed by the IRS.

      33.    Defendant understands that 10 U.S.C.       S   2408 provides for a mandatory

term of debarment of at least five years for any individual convicted of fraud or other

felony arising out of a contract with the Department of Defense. The term of

debarment may only be waived if the Secretary of Defense determines a waiver is in

the interests of national security. Defendant understands that he may be subject to

administrative action by other federal or state agencies, based upon the conviction

resulting from this PIea Agreement and upon grounds other than 10 U.S.C.          S   2408.

This Plea Agreement in no way controls whatever action, if any, other agencies may

take. Defendant nevertheless affirms that he wants to plead guilty regardless of the

debarment or administrative action consequences of his plea.

      34.    Defendant recognizes that pleading guilty may have consequences with

respect to his immigration status   if   he is not a citizen of the United States. Under

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federal law, a broad range of crimes are removable offenses, including one or more

offenses   to which defendant is pleading guilty. Removal and other immigration

consequences are    the subject of a separate proceeding, however, and defendant

understands that no one, including his attorney or the Court, can predict to a

certainty the effect of his conviction on his immigration status. Defendant
nevertheless affirms that he wants to plead guilty regardless of any immigration

consequences that his guilty plea may entail, even if the consequence is his automatic

removal from the United States.

                                     Conclusion

      35.     Defendant understands that this Agreement will be filed with the Court,

will become a matter   of public record, and may be disclosed to any person.

      36.     Defendant understands that his compliance with each part of this

Agreement extends throughout the period of his sentence, and failure to abide by any

term of the Agreement is a violation of the Agreement. Defendant further
understands that   in the event he violates this Agreement, the government, at its
option, may move to vacate the Agreement, rendering    it nulI   and void, and thereafter

prosecute defendant not subject to any of the limits set forth in this Agreement, or

may move to resentence defendant or require defendant's specific performance of this

Agreement. Defendant understands and agrees that         in the event that the Court
permits defendant to withdraw from this Agreement, or defendant breaches any of

its terms and the government elects to void the Agreement and prosecute defendant,

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any prosecutions that are not time-barred by the applicable statute of limitations on

the date of the signing of this Agreement may be commenced against defendant in

accordance   with this paragraph, notwithstanding the expiration of the statute of

limitations between the signing of this Agreement and the commencement of such

prosecutions.

      37.       Should the judge refuse to accept defendant's plea of guilty, this

Agreement shall become null and void and neither party wiII be bound to it.

      38.       Defendant and his attorney acknowled.ge that no threats, promises, or

representations have been made, nor agreements reached, other than those set forth

in this Agreement, to cause defendant to plead guilty.




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                  39.   Defendant acknowledges that he has read this Agreement and carefully

          reviewed each provision with his attorney. Defendant further acknowledges that he

          understands and voluntarily accepts each and every term and condition of this

          Agreement-
             rf   .




          AGREED      rHrs DArE:     4, / l,   4



                                                        THOMAS A.
          DIANtr MACAR?T{UR                             Attorney for
          Assistant U.S. Altorneys

          MATTHEW R. HOFFMAN
          ERIN S. MELLEN
          Trial Attorneys
          Department of Justice




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